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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA




CHERYL SAGATAW, DEANTHONY
BARNES, ROBERTA STRONG, and
TRAVIS NELOMS, on behalf of
themselves and a class of
similarly-situated individuals,                      Civil Action No.
                                                 0:24-cv-00001-ECT/TNL

                          Plaintiffs,

         vs.                                      SECOND MOTION
                                                 FOR TEMPORARY
                                                RESTRAINING ORDER
MAYOR JACOB FREY, in his
individual and official capacity,           ORAL ARGUMENT REQUESTED

                                               EXPEDITED HANDLING
                          Defendant.           REQUESTED; BRIEFING
                                              SCHEDULE PROPOSED BY
                                            AGREEMENT OF BOTH PARTIES



  1. Cheryl Sagataw, DeAnthony Barnes, Roberta Strong, and Travis Neloms, on

     behalf of themselves and on behalf of those similarly situated (“Plaintiffs”),

     by and through their undersigned attorneys, hereby move this Honorable

     Court, pursuant to Federal Rule of Civil Procedure 65, for entry of a

     Temporary Restraining Order. Plaintiffs seek to enjoin Defendant Jacob




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   Frey and his officials, employees, agents, assigns, and all those working in

   concert with Defendant from:

      a. Evicting, bulldozing, clearing, sweeping, dismantling, demobilizing,

          removing infrastructure, or ceasing services to Camp Nenookaasi, the

          encampment of unhoused individuals located between 11th and 12th

          Avenues on 28th Street, Minneapolis Minnesota.

      b. Confiscating or destroying Plaintiff’s property, including property

          shared by the Camp in common areas;

      c. Entering individual residences at Camp Nenookaasi or otherwise

          searching the area outside of the common spaces without proper

          search warrants or consent of the resident whose yurt or tent has been

          entered.

2. Plaintiffs incorporate herein by reference the facts alleged in the

   accompanying Memorandum in Support of the Second Motion for

   Temporary Restraining Order; the previous Declarations submitted in these

   proceedings, Dkt. 5-10; the Declarations submitted on February 20, 2024

   accompanying this motion; and the facts alleged in their Amended Class

   Action Complaint, Dkt. 30.




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   3. As the accompanying Memorandum outlines in detail, Plaintiffs have

      satisfied the four-part test and bring a matter to this Honorable Court

      warranting preliminary injunctive relief:

         a. Plaintiffs are likely to prevail on the merits of their constitutional and

            common law claims.

         b. Plaintiffs will suffer irreparable harm, including significant risk of

            death, unless the requested injunctive relief is granted.

         c. Granting the requested relief will not result in any foreseeable, serious

            harm to Defendant or the public.

         d. Granting the requested relief is in the public interest.



WHEREFORE, Plaintiffs respectfully request that this Court issue a Temporary

Restraining Order.

                                Respectfully submitted,



Date: February 20, 2024                              ____________________
                                                     KIRA A. KELLEY
                                                     Climate Defense Project
                                                     MN Bar No. 0402932
                                                     P.O. Box 7040
                                                     Minneapolis, MN 55407
                                                     (802) 683-4086
                                                     kira@climatedefenseproject.org

                                                     Attorney for Plaintiffs

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